Case 2:18-cv-10110-CJC-RAO Document 66 Filed 03/07/19 Page1ofi1 Page ID #:402

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

Terrence Ferguson,an individual, aka 2 Milly, CASE NUMBER

18-cyv—10110-CJC-RAO
Plaintiff(s),

 

Vv.
Epic Games, Inc., a North Carolina corporation,;and Does 1]

: . NOTICE OF DISMISSAL PURSUANT
through 10, inclusive,

TO FEDERAL RULES OF CIVIL

ee PROCEDURE 41(a) or (©)

 

PLEASE TAKE NOTICE: (Check one)
This action is dismissed by the Plaintiff(s) in its entirety.

Ol The Counterclaim brought by Claimant(s) is
dismissed by Claimant(s) in its entirety.

Oh The Cross-Claim brought by Claimants(s) 1s
dismissed by the Claimant(s) in its entirety.

Ol The Third-party Claim brought by Claimant(s) 1s
dismissed by the Claimant(s) in its entirety.

Oh ONLY Defendant(s)

 

 

is/are dismissed from (check one) Complaint, 0 Counterclaim, 0 Cross-clarm, O Third-Party Claim
brought by

 

The dismissal is made pursuant to F.R.Civ.P. 41(a) or (c).

So
03/07/2019

Date Stenature of Attorney! Party

 

 

NOTE: F.R.Cw.P. 4if(a): This netice may be filed at any taue before service by the adverse party of an answer or of a motion for
stuminary judoment, whichever first occurs.

F.R.Cw.P. 41(c): Counterclaims, cross-claims & third-party claums may be dismissed before service of a responsive
pleading or prior to the begtnning of trial.

 

CV -09 (03/105 NOTICE OF DISMISSAL PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 41 {a) or (¢)
